         Case 1:19-cv-03378-KHP Document 42
                                         43 Filed 11/04/20 Page 1 of 1
                                         U.S. Department of Justice
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                     DOC#:._ _ _ _ __             86 Chambers Street
                     DATE FILED: 11/04/2020       New York, New York 10007
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                                                     November 4, 2020

ViaECF
Hon. Katharine H. Parker                                           SO ORDERED:
United States Magistrate Judge
Daniel Patrick Moynihan United States Courthouse
500 Pearl St.
                                                                      ~ffflVM
                                                                   HON. KATHARINE H. PARKER
New York, NY 10007-1312
                                                                   UNl11ED STATES MAGISTRATE JUDGE
                                                                                       11/04/2020
       Re:     Perdomo v. United States of America, 19 Civ. 3378 (KHP)

Dear Judge Parker:

        This Office represents the United States of America in the above-referenced action. We
submit this letter jointly on behalf of both parties in response to the Court's Order dated
September 22, 2020, which granted the parties' request to extend the stay of expert discovery
and pretrial deadlines in this case to allow additional time for settlement negotiations. Dkt. No.
41. While the parties have made progress, they need additional time to continue their
discussions. The parties thus respectfully request that the Court stay the pending deadlines by an
additional 90 days and propose that they submit a joint status letter to the Court by February 4,
2021, to update the Court on whether they have reached a resolution and to propose next steps in
this case, including, if necessary, submitting for the Court's consideration an amended case
management schedule.

       We thank the Court for its consideration of this submission.

                                                 Respectfully submitted,

                                                 AUDREY STRAUSS
                                                 Acting United States Attorney

                                         By:       /s/ Jennifer Jude
                                                 TALIA KRAEMER
                                                 JENNIFER WDE
                                                 Assistant United States Attorneys
                                                 E-mail: jennifer.jude@usdoj.gov

cc (via ECF): Attorneys for Plaintiff
